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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA

            v.                                        Crim. No. 17-CR-10374-ADB

 ELIZABETH GREEN,

        Defendant


                     GOVERNMENT’S SENTENCING MEMORANDUM

       The United States of America, by its attorneys, United States Attorney Andrew E.

Lelling, and Assistant U.S. Attorneys Amy Harman Burkart and David J. D’Addio, respectfully

submits this memorandum in advance of defendant Elizabeth Green’s sentencing hearing on June

20, 2018. For the reasons set forth below, and based upon consideration of the advisory

guidelines sentencing range (“GSR”) and all of the sentencing factors identified in 18 U.S.C.

§ 3553(a), the government respectfully recommends that the Court impose a sentence of

incarceration at the low end of GSR, to be followed by a 12-month term of supervised release.

       I.        Background

       On December 6, 2017, Green pleaded guilty to a one-count Information charging her

with conspiracy to distribute testosterone, trenbolone, and other steroid compounds that are

Schedule III controlled substances, in violation of 18 U.S.C. § 371. A summary of the

organization and the roles of the other charged participants is provided below.

                 A. The Onyx Counterfeit Steroid Organization

       The Presentence Report (“PSR”) accurately summarizes Green’s conduct (PSR ¶¶ 69-71)

as well as the conduct and respective roles of the other members the Onyx Counterfeit Steroid

Organization.

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       Tyler Baumann and Phillip Goodwin were the co-leaders of the Onyx Counterfeit Steroid

Organization. PSR ¶¶ 14, 16. Baumann and Goodwin have already pleaded guilty, and have

admitted that they began manufacturing steroids using the “Onyx” label beginning in at least May

2015 and continuing until April 2017. See United States v. Tyler Baumann, 17-CR-10211-DPW;

United States v. Phillip Goodwin, 17-CR-10209-NMG.

       Goodwin ordered both the raw materials for the injectable steroids and the counterfeit

labels and packaging bearing the Onyx trademarks from overseas suppliers. PSR ¶¶ 11, 16.

Goodwin then manufactured and packaged the Onyx steroids at his home, which he shared with

his girlfriend and four children. Id. While the Onyx-branded steroids were all injectable steroids,

Baumann and Goodwin also obtained and sold other steroids in pill form (“orals”). Id. at ¶ 12.

       Baumann marketed the Onyx products on social media, primarily Instagram, and arranged

for the sale of the products using email. Id. at ¶¶ 11, 14. Customers paid for the steroids via money

remitters such as Western Union and MoneyGram. Id. Baumann and Goodwin directed other

members of the conspiracy to ship steroids to customers and collect the proceeds. Id. at ¶¶ 11, 14,

16. The members of the conspiracy who collected the illicit customer payments—including

Green—used false identifications and spread the transactions across multiple remitter locations to

attempt to avoid suspicion. Id. at ¶¶ 11, 69.

       The organization was long running, national in scope, and very profitable. Id. at ¶¶ 11, 12.

The sale of the Onyx-branded products alone exceeded $1.5 million dollars. Id. Based on the

estimates of co-conspirator Baumann, the Onyx sales (injectable steroids) represented half of the

business; the other half was oral steroids (pills). By any estimate, the Onyx Counterfeit Steroid

Organization was a multi-million dollar illegal steroid enterprise.

       In addition to the steroid operation, Goodwin and Baumann also conspired with Melissa

Sclafani to launder the illicit funds generated by the organization. Together, Baumann and

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Goodwin were co-owners of a tanning business in Beverly, Mass., called Wicked Tan LLC

(“Wicked Tan”). Id. at ¶ 16. Sclafani operated Wicked Tan, and assisted Baumann and Goodwin

in using the business to hide proceeds of the illegal activity, by creating the impression that the

money was revenue generated by the tanning business. Id. at ¶¶ 44-45.

               B. Elizabeth Green’s Role.

       Elizabeth Green’s primary role in the organization was picking up steroid proceeds from

money remitters at the direction of Baumann and her sister, Kathryn Green. Id. at ¶¶ 69, 71. Green

used false names and identifications to evade detection. Id. Green picked up at least $260,000 in

proceeds from the steroid organization. Id. at ¶¶ 69, 71.

               C. The Status of Other Members of the Conspiracy

       On April 12, 2017, pursuant to a criminal complaint, six members of the conspiracy were

arrested: Goodwin, Baumann, Kathryn Green (“K. Green”), Sclafani, Robert Medeiros and

Petzke. Ultimately, only Goodwin and Petzke were indicted; the remaining defendants each

pleaded guilty to Informations. Elizabeth Green was the last to be charged.

       The charges against each of the defendants in these related cases are listed in the PSR at

paragraph 6. On March 15, 2018, Judge Gorton sentenced K. Green to 12 months and one day of

incarceration, followed by two years of supervised release. PSR ¶ 6; (17-CR-10210-NMG). Later

that day, Judge Woodlock sentenced Baumann (who pleaded guilty to an Information charging

conspiracy to distribute controlled substances; conspiracy to traffic counterfeit drugs; conspiracy

to engage in money laundering; possession with intent to distribute controlled substances; and

trafficking counterfeit drugs) to 10 years of incarceration, followed by three years of supervised

release. PSR ¶ 6; 17-CR-10211-DPW. Sclafani was sentenced by Judge Gorton on April 25, 2018

to 12 months and one day of incarceration, after granting the government’s motion for a downward

departure pursuant to USSG § 5K1.1. See 17-CR-10185-NMG. Co-conspirators Brian Petzke and

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Robert Medeiros have not yet been sentenced. Petzke is scheduled to be sentenced later in the day

on June 20, 2018 before Judge Gorton; Medeiros is scheduled to be sentenced in July before Judge

Talwani.

       II.       Advisory Guidelines Sentencing Range

       The Applicable Guidelines Calculations

       The parties agree that the base offense level pursuant to USSG §2D1.1(c)(10) is 20.

       The parties have differing views with regard to what adjustment, if any, is appropriate

   based on Green’s role in the organization:

                The government takes the position that Green is entitled to a two-point decrease
                 based on her role in the offense, in accordance with USSG § 3B1.2(b).

                Green takes the position that she is entitled to a four-point decrease based on her
                 role in the offense, in accordance with USSG § 3B1.2(a).

                The United States Probation Office takes the position that Green is not entitled to
                 an adjustment for her role in the offense.

       The parties agree Green is entitled to a decrease for acceptance of responsibility under

USSG § 3E1.1(a), and a further reduction under USSG § 3E1.1(b) if her offense level is 16 or

greater.

       The parties agree that Green meets criteria 1-4 of USSG § 5C1.2, and the government

believes that she also meets criterion 5. Thus, a further two-level reduction in her offense level

is warranted under USSG § 2D1.1(b)(17).

       There is no dispute that Green falls within Criminal History Category I.

       Role Reduction Adjustment

       Green is charged only with participating in the steroid distribution conspiracy—the

lowest-level conspiracy in the organization. In contrast, other members of the organization were

charged with conspiring to traffic in counterfeit drugs and conspiring to launder the proceeds of


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the steroid organization, among other substantive charges. Thus, the charges in the case already

reflect the more limited culpability of Green as compared to her co-conspirators.

       The government agreed in Green’s plea agreement, and in her sister’s, to take the position

that they are each entitled to a two-level decrease based on their limited roles. As a matter of

consistency, the government intends to take the same position with regard to Petzke at his

sentencing. The roles of each of these defendants is similar, and there is no basis for a further

reduction for any of them.

       III.    A Guidelines Term of Incarceration for Elizabeth Green is an Appropriate
               Specific and General Deterrent

       Green was an active member of an illegal steroid distribution organization for

approximately a year and a half, from November 2015 to April 2017. She knew her actions were

illegal, and she took active steps to evade law enforcement—most notably by using a series of

false identifications to pick up steroid proceeds. Green, and the others that picked up the illegal

steroid proceeds, provided critical logistical support to the enterprise. Green knew she was

participating in illegal organization, and she chose to do so. As a matter of both general and

specific deterrence, and in order to promote respect for the law, Green should be sentenced to a

guidelines term of incarceration.




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                                        CONCLUSION

       For the above reasons, the government asks the Court to impose on Green a term of

incarceration at the low end of the applicable guideline sentencing range, to be followed by a 12-

month term of supervised release.




                                             Respectfully submitted,

                                             ANDREW E. LELLING
                                             United States Attorney

                                         By: /s/ Amy Harman Burkart
                                             David J. D’Addio
                                             Amy Harman Burkart
                                             Assistant U.S. Attorneys

Dated: June 20, 2018




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                              /s/ Amy Harman Burkart
                                              Amy Harman Burkart
                                              Assistant United States Attorney

Date: June 20, 2018




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